Case 1:18-cv-11970-ECR-AMD Document 289 Filed 09/15/21 Page 1 of 2 PageID: 5104




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

  THE HOMESOURCE, CORP.,
                                                       Case No.: 1:18-cv-11970-ECR-AMD
                        Plaintiff,

         vs.

  RETAILER WEB SERVICES, LLC, et al.,

                        Defendants.


                                FIFTH SCHEDULING ORDER

        AND NOW, this 15th day of September, 2021, pursuant to Paragraph 3(b) of the Order

 appointing Judge Stephen M. Orlofsky (Ret.) as Special Master (Doc. No. 281), it is hereby

 ORDERED that:

        1.     All fact discovery shall be completed by November 19, 2021.

        2.     All opening expert reports shall be exchanged by December 23, 2021.

        3.     All rebuttal expert reports shall be exchanged by January 23, 2022.

        4.     All expert discovery shall be completed by February 25, 2022.

        5.     Any motions for summary judgment shall be filed by April 15, 2022.

        6.     Responses to any motions for summary judgment shall be filed by May 20, 2022.

        7.     Replies in support of any motions for summary judgment shall be filed by June
               10, 2022.

        8.     Following the submission or non-submission of motion(s) for summary judgment,
               Judge Robreno shall reset pre-trial and trial deadlines.
Case 1:18-cv-11970-ECR-AMD Document 289 Filed 09/15/21 Page 2 of 2 PageID: 5105




       IT IS SO ORDERED.

                                     s/ Stephen M. Orlofsky
                                     Stephen M. Orlofsky
                                     Special Master




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